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A0245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 DUNG VANNGUYEN (I)                                                      Judgment - Page 2 of 4
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 ONE-HUNDRED FIFTY-ONE (lSI) MONTHS AS TO EACH COUNT TO RUN CONCURRENT




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:
       COURT RECOMMENDS PLACEMENT IN THE RESIDENTIAL DRUG ABUSE PROGRAM
       (RDAP). COURT ALSO RECOMMENDS PLACEMENT IN SOUTHERN CALIFORNIA.




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o     at
                  ------------------ A.M.                     on
       o     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                               to
                                                                                 -------------------------------
at _ _____________________                , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL


                                                                                                      14CR0221 MMA
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